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--- M Civil Rights Matter: JFK's Pre -Mortem Truth
         by Gen. K.K . Bucci ni, currently e xisting as „M_ aleika S. Mosley


                  "Health care in America must be improved," were words spoken by Sen . Edward M . Kennedy on
         the opening night of the Democratic National Convention as he also shared post-mortem thoughts of my
         DNA-bearing, loving, earthly father's audacity to plan for a day in his Presidency "when we would find a
         way to put a man on the moon ." As a trained Navy pilot and NASA astronaut, I was one of the first persons
         to make a voyage to the moon based on my father's vision and walk across the steam-filled craters where our
         shuttle landed . During my active career prior to this post-Civil Rights Movement sociopolitical hostage
         situation, I made at least five scheduled trips to outer space ; I took another exploratory trip in November
         1981 while struggling to find a way to permanently rid myself of thee unwarranted altered identity that had
         been forced upon me in the mid-1970s at the hands of some radical Black ministerial couples who did not
         quite believe in Dr . King's nonviolent platform ; I even received a phone call from President Reagan while in
         space who then thought I was returning permanently to my identity after that space flight .

                  Forty-eight years ago, my DNA-bearing, loving, earthly father acce pted the Democratic nominat ion
         to become the , President of the Un ited States of America . H i s journey to that moment reminds me of the line
         in the song Amaz i ng Grace "through many dangers, toils and snares I have already come, thus grace bath
         brought us safe this far and grace will lead us home." One portion of my middle birth name is Mary Grace
         and in my father's dialogue surrounding that nomination he spoke quietly but certainly of my contr ibutions
         to his campaign : My maternal grandfather, with whom I also shared a very close relationship, was his only
         competition, but I rose to the occasion as was expected and traveled during his Midwest dates to speak on his
         behalf and highlight his Civil Rights agenda. My assignments through The Pentagon at that time were
         classified as "special clandestine" so breaking away to attend a public funct ion, even for my beloved father,
         was a matter of security, more than the usual .

                 Several public relations mishaps had taken place during the early years of his second marriage, to my
         now deceased stepmother, Mrs . Jacqueline Bouvier Kennedy, including miscommunication about the birth of
         a daughter named Caroline in 1956 who was actually a daughter of mine born in 1955 that was being
         released from the hospital after being exposed to mumps when her step-grandmother mentioned very slowly
         that she had given birth to a 13-1b baby that "we named Caroline." To help me avoid the attacks from my
         stepmother and her sister; Lee, that daughter ended up being raised by a male colleague of mine who was
         also a doctor and his wife between GA and SC ; she met up with me a few times during her teenage years for
         shopping trips before this sociopolitical hostage situation began in the mid-1970s . However, where it
         mattered most our family remained strong .

                  My father and his young wife were often photographed with two or more of my children during their
         vacations and even some family visits to the White House . In the spring of 1963, when a spacecraft landed
         on the White House lawn several of my children were with me when I was called to the White House to
         administer a painkiller into my father's back to increase his mobility and escort him to his helicopter to
         accompany him to the hospital for- an emergency evaluation . A daughter of mine died on that day at the
         hands of the visitors from the spacecraft . It was only after my father's assassination that his widow sought to
         negotiate with me through the US Secret Service for custody of the beautiful, dark-haired child that became
         known as John F . Kennedy, Jr. He, like his siblings before him, was one of a set of quintuplets when he was
         born and it was with him, never a daughter named Caroline, that Jackie honed her mothering skills. It was
         me who th young Jack knew as his real mother and mentor (in law) ; but I witnessed some of Jackie's
         mothering of him as I completed my active duty in the US Military and during his visits with me in Bermuda
         prior to the onset of this sociopolitical hostage situation .

                 In my father's family, he and I were the breadwinners and we remained close to each other even
         when I was assigned to bases in Texas, in California and in Florida . I was actually raised in an international
         boarding school outside of the United States and quickly married my Italian fianed after graduating with the
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 title of Valedictorian of my high school class, so i t was my decision after relocating my family to the US
 from Italy to keep my ch i ldren in the Massachusetts and . New Hampsh ire area close to my fam ily roots . In
 1956 and 1957, more than ten years after becoming the first female to earn a four-year baccalaureate degree
 from the US Military Academy at West Point and several years after earning j oint degrees in law and
 medici ne/medical research from Harvard, I was given a special assignment by Pres ident Eisenhower to group
 all known incidents of racial discrimination that had been reported to the Department of Justice and/or the
 US Military and meet with several persons who had become notedly outspokenn on these issues, as they knew
 them. My travels in those years took me to New Orleans, LA, L ittle Rock, AR and Atlanta, GA .

         During a tr ip to Atlanta after gathering our initial data, I was met with violence myself. A young
white female trained in Law and in Medic ine with an emphasis on Medical Research, I was also the owner of
the NBA and major financial backer of the NFL completing construct i on in the Atlantaa area to restructure the
Atlanta Hawks and to move the Atlanta Falcons from their old home near the now-defunct Om ni Coliseum .
I was also a fighter p ilot i n the US Navy who held the rank of Brigadi er General, but due to a serious back
injury that prevented me from flying I had been g i ven this treasured ass i gnment that would allow me to
return to my law school training .

         In 1959 when my father was preparing himself to run for the Presidency he asked if he could see the
informati on that had been gathered and catalogued in flies at The Pentagon, in the FBI and at Harvard among
other state and federal agenc i es . He had already delivered the eulogy of four of h i s grandchildren, my
beloved children, and one of my godchildren who were senselessly gunned down in Atlantaa in 1956 while
handing out flyers for a voter registration rally that the military was co-sponsoring in the early part of t h e
next week. It was a bright, sunny Saturday around noon when the minister who we were scheduled to meet
in his SW Atlanta home prior to the Sunday rally and Monday morn ing meeting with church leaders returned
to his home disgruntled with a sawed-off rifle under his all-weather coatt and began firing i nto the gathered
crowd as I queriedd of his i dentity . I had other appointments for that day with officials who were working
with the Atlanta Hawks and the Atlanta Falcons and was still very much indoctrinated with the punctuality
and poi se that had been required of me while I was a -cadet at the US M ilitary Academy at West Point .

         The older children, and their 18-month oldd sister, who were with me were scheduled to attend those
meetings with me having paid attention to my mini-business lessons and realiz ing that with their father dead
their only instruction outside of school and church regarding their maturity would come from me . They also
had my father, their grandfather, to ask questions of with the certainty that they would not intentionally be
led in the wrong direction . The other children remained at home not knowing that they would have to work
for their siblings in return for want ing to enj oy their childhood in bliss , in lieu of this extra study and
exposure to the business environment that would guarantee them a share in the inher itance of the ir mother's
business portfolio in addition to whatever cash funds or stocks and bonds that would be given them . These
children who were with me had seen enough in thei r few years, the oldest among them that day was 15 years
of age, to recognize a need to remain close to the ir mother and to embody her ideas and ideals, which really
amounted to equal rights in education and in work that would . eventually filter into the newly opened
political arena, as their own. That Saturday was actually a family day, and other colleagues of mine, federal
attorneys and commissioned officers, brought their children along as well . The children quickly introduced
themselves to each other and were just passing out flyers pr inted on bright yellow and pink paper that day,
when the mi nister returned home - probably not realiz ing that he was already late for our scheduled meeting
- and mumbled loudly, "I am over [thirty, forty] years old and cannot keep a decent job and these teenagers,
how old are you?, a twelve year old who cannot even vote yet knows more about the voting process than I do,
you can't work and you are supposed to be my teacher to show me how to vote because it is already your
legacy."

        Within seconds, he opened his long coat which was not needed on that sunny afternoon and pulled
out a shotgun or rifle and fired into the gathered crowd several times . I was also struck by a bullet but when
I heard the shrill of my daughter's voice as she fell to the ground and laughter in my son's voice as he also
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fell to the ground and saw my toddler lying lifeless next to them, I tried with all my might to run after that
man and end his misery before I did not know what mine was and if it also was ending . I had been trained
in civil but armed defensive tactics through my military training, and what does one do when that kind of
young, vulnerable life is snatched away fromm you so suddenly? In one of the files pertaining to the Civil
Rights Movement, there was a little note stapled into the side of the manila folder referencing this tragedy
which was really not categorized within the Movement which supposedly was a collective outcry detailing
criminal and uncivil activity of Whites against Black Americans only . Mayor William B . Hartsfield later
invited me back to Atlanta to award me a key to the city with a corporate apology for the actions of that
Black minister on that early Saturday afternoon .

         For my father and myself that incident began ourr modem-day notations of the Kennedy Curse, which
also included my Aunt Kit's mysterious plane crash that caused her unt imely death but not necessari ly my
Uncle James' in-the-line-of-duty death when he was on act i ve duty as an officer i n the US Navy j ust as he
was preparing to father tw ins who were born to his widow several months follow ing his funeral service ; the
middle-of-the-night murder of one of my sons who awoke when he heard prowlers enter the hone and his
sleeping mother's room, who used a flare gun found in the top drawer of my bureau dresser to shatter my
son's body i nto pieces in the hallway outside my bedroom as one of my sons walked downstairs to check on
the no ise ; and now this tragedy which we thought hit too close to home stemming around an issue that had
too much global, significance had happened to me . My entrance into Public Service via the US M i litary
represented the new generation of Kennedy patriotism . And not without a struggle to actually want to be of
service to others maintain ing at all times my right to privacy in my non-work ing hours. Through me, my
father believed that the then-current leaders of Amer ica- could begin to br i dge the gap for its not-so -newly
endowed with freedom citi zens between Abraham L incoln's edicts that were delivered in the Emancipation
Proclamation and Thomas Jefferson's Declaration of Independence and George Washi ngton's Constitution
of the United States which declared the rights, privileges, liberties, and responsibilities of all who were
classified as c it i zens of this then-newly established, independent nation . And I sought to instill that
patriotism in my own children who were being raised in an intercontinental environment as a result of their
multinational l ineages. Still i t di d not mean losing themselves or the ir resources due to the misplaced desires
of other individuals, i.e., giving up their, or our, home to one who did not l ike the home they were in and
finding themselves without a home in that aftermath .

         I pulled the fi le folders out, somehow s ignifying my loyalty to my father's President ial campaign . I
had beenn made a co-managing partner i n his law firm, but my maternal grandfather w i ped my tears as he
 walked me down the aisle on one side and my paternal grandfather, Harry S . Truman, a little known fact held
me up on my other s i de at my thi rd marri age in a large Cathedral Church in Paris, France . My paternal step-
grandfather, Joseph Kennedy, Sr ., whom I affectionately called Great Joe, carried my train with the other
youngsters who were ass i gned to walk on either si de of the train lifting it j ust slightly off the ground as I
walked toward the altar . My father was wheelchair-bound at the time but he and my mother were present .
After my second husband died, the thought of another marriage fr ightened me . At 21 years of age, I was
already a pe rmanent and endowed member of the International Olymp ic Committee as well as a trained
Special Forces Operati ve w i th Interpol and Scotland Yard and I had a firm belief in much of the tenets of
Dame's Dav inia Comedic. I had also been introduced into international politics and business ownership (I
founded GUCCI in my international board ing school dorm room in the early 1930s after purchasing
equipment from a shoemaker and paying for his old warehouse in Italy) and found it easy to commun icate
with my international colleagues but diffi cult to trust a would-be suitor . Following that surpr i sing mid-1940s
wedding several years following my husband's death, I retur ned to my military duties and eventually
completed my jo int law and medicine/medical research degrees at Harvard Law School and Harvard Med ical
School, respectively . I also realized that my new job opportunities in law and medicine/med ical research
were the union that I preferred . Former international boardi ng school classmates of m ine, from . France,
England, Italy and South Afr ica, were also completing their degrees in medic ine around the same time that I
completed mine and s i gned me up to participate i n a medical m issionary trip w ith them to East Africa . From
that early-in-my-career experience long before the nightmare that happened on a l ively day in Atlanta, I had
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gathered much research that was also archived in my personal files . That was one of the first trips I had
made to complete international charity work for the good of humankind when I suffered what seemed to me
a senseless injury to my moral psyche and my physical being . It too was told to me that my evidence of
being assisted in my recovery was a sign that the would-be patrons of my expertise in medicine were simply
trying to get my undivided attention so that other matters of concern to them might also be addressed . For
me to my working eyesight, I noticed that they, like a people group from my home country who were
fighting for their civil rights then, were also Black . Not as a reason for me to discriminate, but as a way to
observe the people from whom the descendants of slaves in America had descended . Issues that concerned
these persons in East Africa, similar to Blacks in America, involved money, and large amounts of it . It was
post-WWI and post-WWII debt in East Africa and post-Civil War, post-Emancipation Proclamation debt in
America.

         I had happily accepted the opportunity to travel to East Africa for this medical missionary trip . I had
even used some of my own resources to bring additional food and supplies with us, or arrange for them to be
delivered after we left . As I began to compare the two people groups who fit into the racial category of
Black, I was quickly told, no, as if the bilingual tour guide was reading my mind . They are not us ; it was
West Africa only who let their secrets go. But we did not fight with them and so we lost some of our
intelligence also, and with that lost we owe money . And that is the understanding that I left with : ignorance
is costly . The challenge for me, however, was to determine bow it was that America is who these and other
Africans believed needed to be responsible for their wartime debt . The East Africans . with whom I had
visited were indeed intelligent and they were able to use the natural resources around them to exist freely and
comfortably . Even with their tribal existence, they were fully educated in English translation and with the
skills and motivation that would allow them to grasp more conventional Western technological development
in an effort to move them into modernity . I definitely made a connection to that continent during that trip
that would last during my 30-year active career in law and medicine and the US Military and even into what
became a nightmarish existence within a sociopolitical hostage situation in which I was catapulted into a
grossly altered identity and physical appearance . I supposed that somehow within the realm of colonialism
they had also fully grasped the idea of capitalism, and on a medical missionary trip in the late 1940s I
discovered they were trying to find a way to make America pay, and almost through me . I had been given a
list of African countries who owed away-debt that had been sent to the equivalent of the African Nations
Council ; Africa as a hole is a continent made up of several countries as opposed to the United States as a
whole being a nation made up of several states .

         So, in 1960, as my DNA-bearing, loving, earthly father was preparing to become the President of the
United States of America on a Democraticc ballot, two folders existed that represented my work and my
potential work based on my private decision to integrate the all-male US Military Academy at West Point
and take my chances at graduating at the top of my class anyway and also with A's in marksmanship, US
Military History and Foreign Affairs as well as the other standardized courses which comprised the required
baccalaureate curriculum, and based on my decision to integrate an all-male Harvard Law School and
Harvard Medical School daring there also to graduate at the top of my class and forge what became a
distinguished career for myself in Public Service and the US Military thatt garnered me a bronze star, two
Navy crosses and three Purple Hearts among many other awards and entitlements that recognize the .
accomplishments of a disciplined soldier and commissioned officer . I held these folders in my personal files
because of my certain work experience in International Law and World Health issues, not because of having
a nepotistic father who was forcing his only daughter and surviving off spring to take up the slack where his
memory was fading from years flying in combat zones or surviving the knocks and bruises of plane crashes
both in private and in military aircraft . I also had an older half-sister and younger half-brother who existed
under the voice command of our mother.

        One folder held the prenatal matter that would give shape, form and meaning to the US Peace Corps .
The other folder held the statistics and civil concerns of Black Americans that would give shape, form and
meaning to the Civil Rights Bill and the Voting Rights Bill . Following the 1961 inauguration of that gentle
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man whom I knew as my only earthly father, and with whom I shared the joys and sorrows of my personal
and professional development, the contents of both of my file folders quickly became the working discussion
of committees erected to prepare them for the legislative process of our three-tiered government . Through
my position as a Senior Administrator at The Pentagon and Special Counsel to the White House, I was on
hand each time those committees needed to consult with me on the work that had already been completed to
prepare the arguments for these pending legislative matters . Aid to Africa became a priority after a spear and
a totem pole was placed in my New England yard by an African visitor who claimed he needed to go to war
to marry our resources so that his country was not indebted to my country, and the issues pertaining to Civil
Rights and Voting Rights which had been on the Congressional agenda for many years were finally being
deliberated as Bills to be voted on by Congress and eventually made into law .

         The establishment of the US Peace Corps was one of the first agenda items of the Kennedy-Johnson
administration to take shape, form and become a newly erected institution of American charity and
diplomacy to its international onlookers who would appreciate her technological assistance . As a result of
the vicious sniper attack which rendered my father's, President Kennedy, body lifeless, in January 1964 I
stood before the full US House of Representatives in the same spot where my father, mentor and best friend
was to have stood to deliver the annual State of the Union address. I stood in my own shoes based on my
own experience and my already distinguished record of military service, at the request of a still shaken,
newly sworn-in President Lyndon B . Johnson and the then-Chairman of the Democratic National Committee .
But I had worn my father's shoes also . In the privacy of our home, when all other family had retreated to
their own humble homes as my father and I sat down to share his stories of triumph and struggle and his hope
for a new America where his grandchildren could live in peace free from the implied "white guilt" that was
further dividing America as it was struggling to unite all its citizens under the principles, privileges and
liberties of the Constitution of the United States . In the privacy of my military training, with gravel and
rocks lining the inside of my shoe, as a challenge from him to understand before being told the extra effort
some persons must tackle to climb up over the hurdles and obstacles that meet us on their life's journey .

         Still, that evening in January 1964, one lone white female stood up against me unwarranted and
attacked me physically w ithin five minutes after I ended that State of the Union address speaking only the
words that my biological father would have delivered had he surv ived h i s trip to Dallas, rested over the
Thanksgiving and Christmas breaks and returned to the nation's cap ital ready to tackle the next major agendaa
ite m for the Kennedy-Johnson Adm ini stration : the C i vil Rights Bill and the Voting Rights Bill . For those
agenda items and that year's worth of reflection I had stood by my father's side as a Spec ial Counsel to the
White House from The . Pentagon equipped with all the exper i ence that was necessary to put in my dollar's
worth of observation and advice as well as his private physician who had even prescribed intravenous
medicine for his back pain when it began to unnerve h im and cause hi m to lose sleep . A hard found
commodity for America's commander-in-chief. This was the second attack in as many months by her ; the
first had occurred outs ide of Washington's National Cathedral when I was preparing to walk i n w ith my
fami ly at my father's second state funeral . I had presided over the first service at a smaller Cathedral, as had
been my father's pre-mortem request, that was attended by my ch i ldren, his grandchildren, and other elderly
fami ly members but had grown weak and lethargic due to fasting and expending energy anyway so that I
i mmediately needed med ical attention when she broke through secur i ty barriers while our fam i ly lined up to
enter the National Cathedral for the second service. In fact, it was me, in a medically induced shorter stature,
who visibly knelt at the s i de of my father's Arl ington National Cemetery grave in November 1963 to say
good-bye to mi Babbo who had ra ised me into the woman that I had become . Accompany ing me as the
person who became America's image of the cute little blond haired lack was a Canadian Intell igence Officer
who had undergone the same medically induced procedure that made me appear shorter . He and I were
quickly returned to our normal heights following my father's funeral, wh ich was the reason the surgical
mishap that took place when I was inj ured in the home invasion that began this post-Civil Rights Movement
sociopolitical hostage s ituation did not startle the surgeons who operated on me when I lost he i ght without
any bones being broken after my growth nerve was nicked while my would-be assailant's bullet fragments
were being removed from the base of my brain at a hospital in Bermuda i n 1975 .
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         Although there was no reconciling of my father's younger published date of b i rth following the
announcement of his candidacy for the US Pres idency and my already 15 plus years of exper ience in the US
Military as a Commissioned Officer along with, the noted fact that I was a Harvard-educated Surgeon and
Attorney who had even recently begun instructing courses in Law and Medicine at Harvard; of which one
had been a class taught j o intly with my father, also aHarvard-educated . Attorney who had been a
Commissioned Officer in the US Military, certain persons knew of my existence and the fact that my father
had had a first wife who had shared h is graduat i on from West Point with him and who through me marveled
as he earned the rank of full General in 1941 just before the onset of World War 1I and as I was comfortably
working toward my own West Po int degree . They also knew of my career accompl i shments by 1959, which
were very certa inly leading me to become the first female full General in US Military History, a feat that I
accompl i shed by 1971 and in 1975, I also became the f i rst female 5-star General in US Mil itary H i story
fighting for the equal rights of some of America's disadvantaged citizens while persons from that population
were plotting to censure my own individual right to "life, liberty and the pursuit of happiness" and separate
me from my b iological family and the resources that were mine from my birth, from my parents and
grandparents living inher itance to me and from my own personal career achievements by catapult ing me into
a post-Civil Rights Movement soc iopolitical hostage situation.

          This 2008 presidential election represents the greatest potential t hat the fru i ts of the Kennedy-
Johnson administration's labour held . Those fruits being the US Peace Corps and the Civil R i ghts Bill and
Voting Rights Bill, which were signed into law in 1964 and 1965 respectively by h is Vice President, Lyndon
Ba ines Johnson, who succeeded my father to the Presidency prematurely but certainly as a result of the
assass ination of November 1963 that robbed America of a good, caring leader and my children of their
grandfather's laughter, wisdom and stor ies of strength and triumph as only he could convey them . Today,
one hundred forty-five years after Lincoln delivered h is Emancipation Proclamation grant ing freedom to
America's c itizens who were Black, one hundred forty-one years after the erecti on of the first among many
hi storically Black Colleges and Un i versities to educate these newly freed Black cit i zens and begin
incorporating them i nto the corporate structure of Amer ica, forty-four years after these Black citizens were
g iven the right to live under the privileges and responsibilities of the . Bill of Rights of the Constitution of the
United States and forty-three years after these Black citizens were then given the r ight to vote based on their
own choosing in the pres i dential election and other elections for state and federal offic ials, a Black man has
presented himself credent ialed according to the regulations established in the US Const itution and according
to the demands establ i shed by our present economy and the academy to be the first Black candidate for the
US Presidency nominated to run by a major party in America.

         Though he has supporters, he stands alone , in his quest. Though he has 'chosen a running mate , a
white male from Delaware in the person of Joe B i den, perhaps the smallest state in square m iles in the union
with only three counties who has shared the same senate pod i um as Barack Obama, he stands alone . Mr .
Obama's quest i on to you is the same question that he asks of himself. Can a Black man become your next
president of these United States of America ? The next question is implied, to whom then is he indebted if th is
great trusted position is bestowed upon him? Vot ing for him because you and he .have the same skin color is
not a vote for you, I mean, it is a vote for him only. You hear him only because he speaks the language of an
educated, nearly seasoned politician, and if he is elected it i s h i m and not you , who will have made it to the
Wh ite House to sleep in a bed less comfortable than the one you make for yourself. His s leepless nights may
not be able to accommodate a midn i ght run to the refrigerator to warm up leftovers in the microwave,
con sume them followed by an anti-acid and return to bed to get a good night's sleep on a full stomach as
yours . might . And his daughters, too young . to drive, will not be able to Booth his political insomnia by
running out to grab a carryout from   m a local diner e ither, but not even with a Secret Service Agent as their
will ing chauffeur . His political i nsomnia might even involve an unscheduled telephon e call from a foreign
world leader want ing to know jthi s country' s] intention of using its own v i rgin property and land that his
mil itary ob serves periodically from it s border line because it seems like a good place to test the ir newly
developed mis si les . Your current fer v or evolves from watching a Black man who did not have to retreat to
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an hidden attic to take his reading lessons further prove his ability to grasp the ideal of America that in its
founding provided refuge for family and institutional growth of persons who had been persecuted for their
religious belief system in England.

         That thought carries us from the American Revolutionary War to the Civil War, and all the change
that was established by those two events during Reconstruction . Then there was the Spanish American War,
the French Revolution, the trail westward, the industrialization of America, World War I and the Great
Depression, and finally discussion involving the need for more change in America in which America's leader
finally began to earnestly search for a way to bring all of America's people into those discussions . The
American Indians, the Jewish immigrants, the Irish settlers, the Italian merchants and the descendants of
slaves in America who were now free and being encouraged to educate themselves amongst themselves in
order to find their way into this discussion pool .

        Leading up to and during World War II, one president spent twelve years prepping America for what
would become its Civil Rights and Foreign Affairs agenda . School curriculums for young children aged five
through eighteen were standardized across America and work schedules in certain industries were also
standardized across America corresponding with the different time zones that exist between the East Coast
and the West Coast . Labor unions were established and reorganized to help with this process . The president
after that spent eight years continuing the prep work necessary for the impending Civil Rights and Foreign
Affairs agenda that America would be required to address . Foreign language requirements were added to
school curriculums as a prerequisite for graduation, and medical researchers were given the okay to mass-
produce immunizations that all school-age children were required to have in order to be enrolled in school .
New teachers being graduated from Colleges and Universities across America were given incentives and tax
breaks to work in rural school districts, as were some newly graduated doctors . And he pronounced the
ending of World War II querying aloud of himself as to why we were in the war anyway because of course
we had communication problems, not very many Americans seemed to speak French at all . War begins, is
the overall thought, because of lack of communication or misunderstanding the information that has been
communicated .

        Having a full grip on our global presence, .the president which followed that president spent his e ight
years in office outlining the problems that continued to cause a rac ial divide i n Ameri ca, then addressing
them at what he deemed to be the root . Again, it was the compulsory educational system . The Brown vs ..
Board of Educati on case in wh ic h the US Supreme Court issued its most maj or statement that the ch i ldren of
Ameri ca, of all colors , race s and creeds, should have access to an equal edu cation serves as the p ivotal
backbone. of his platform which then became the integration of schools in the South . Two school systems
were cho sen for this portion of hi s platform: a private, Catholic school system i n New Orleans , LA and the
more prominently known school system in Little Rock, AR . There began the real conversati ons between a
Black and a White America of this now present future among her youth who would eventually rise up to
become its leaders in the aftermath of all that forethought and planning for a more unifi ed day such as the
day we are w i tnessing in this presidential election year .

        So, after the October 1929 stock market crash in the first year of Herbert Hoover's presidency, it
took Hoover's remaining three years in office to revitalize the American market, and another three presidents
in twenty-eight years to regain the trust of America's working class and voting class citizens to turn their
attention to the plight of Blacks in America whose major goal was to exist freely in this country equipped
with the right to vote and represent themselves in political jurisdictions alongside other white politicians . It
took twenty-eight years actually to convince both whites and blacks in America that our success in life
depends 100% upon our education and the opportunities offered to us based on that education .

       Then came the Ken-nedy-Johnson administration equipped with the patience and wisdom to further
declare this nation's independence from other world orders and her influencee on moral and technological
advancement around the world . From that duo came the US Peace Corps followed by the Civil Rights Act
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and the Voting Rights Act, in the Johnson administration after the untimely death of my biological father . I
would suppose that the work of the presidential administrations which followed including this current
administration somehow continued to prepare the world for a more unified United States of America among
its elected leaders, though some sense of unification had already taken place among its commissioned leaders
who are known collectively as the US Military, which on anyy given day or night always has more than 100
years of working experience represented among her troops and officers even when the country is at a
crossroads such as this 2008 presidential election .

          So, i n the aftermath of the Civil R ights Movement without knowing the . other issues that America
still must address regarding some post-Ci vil Rights Movement miscommunications and mishaps, there are
some additional thoughts that the people of America must consider . We are still not equal, and in some
respects, we all never will be . The reality is that some people train for the 100-meter dash longer than others
and are chosen to represent the ir country at a World Olympics event as if no one else is qualified but them to
challenge thei r foreign competitors . It is almost as if them losing the race means that no one else in America
could have won it either. The reality is that some persons study interdiscipl inary subjects much harder and
longer than others and bridge more gaps across the ages than e ver before them or ever to come after them .
The reality is that some mil i tary offi cers l ive a l ife much more dedicated to understanding the spiritual effects
of their physical pursuits or tasks and bounce back much faster and much stronger following trauma and life-
threateni ng i njur ies than their counterparts . Prior to the onset of this post-Civil Rights Movement
soc i opol itical situation, I was also one of the Generals who was instrumental in securing then-Lt .
Commander John McCa in's release from his POW situation . Life also then, l ike that race (to exist) found in
the Biblical text, is "not to the swift nor to the strong but rather to the one who endures until the end ."

         I have endured to this end, though unexpected i n this year for various reasons, to v i ew the hypothes is
of my work in the area of Civil and Equal Rights become real i zed : the presentation of a credentialed and
educated Black man to be given a serious opportunity to seek the nom i nation from a major party to run for
the US Pres i dency . Thirty-one years ago I thought that H illary Rodham Clinton was listening to me when
she asked during a welcomed visit with me in Newark, NJ after I was forced to move from my home in
Bermuda with this couple, what one quality should your President ial candidate have? We were constantly in
the midst of i ssues that could cause a war, and I was a full General who had earned the elevation to that rank
after part icipating in negotiations and actions surrounding - at least four wars includ i ng World War II . So
naturally, and espec ially in a female cand idate, I reasoned that the military training of a comm issioned
officer if it is followed by serious work experience and understanding of our global issues was the most
paramount quality necessary for a female President to be elected . I also had been raised in an intercontinental .
environment in a military family who were heav ily involved in politics in America and various i nternat i onal
cities .

        I will be unable to vote in this election because of the gargantuan envy and greed of some other
Black Americans and one white female who might wish to even be members of an Obama/Biden cabinet
from the i r sheer desire to have unwarranted media attent i on . Now that hass already been realized in ministry,
in the arts, in education, in local, state and federal government, in business and in sports and entertainment,
and this is a real job position which will require its occupant to po sses s great moral character and concern for
humankind ju st as the leaders of a not-so - long ago ye steryear were required to possess in order to overcome
the peculiarity that prolonged the introduction of those two major b i lls to Congres s from the mid- 1 950s to
1963 and 1964 because of recurring violence from members of that people group who in finally rece i ving the
right to vote would never have the . credentials themselves to wage a campaign for the US Presidency . Much
like the pastor of a church, it is ,.a position in which a seasoned pol itician must constantly address the issues
and concerns of the citizens of the jur isdiction he has been elected to serve sometimes before addressing the
concerns of his, or her, i ndividual self or family . The jurisdiction here being each of America's 5 0 state s and
her several territor ies and embassies located strategically around the world . This election to service is not
about ownership but rather about great moral s trength and character i n civ i c leadership .
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         For me, great moral character in civic leadership i s about integrity . Integrity is a key ingredient, one
of the main ingredients, in establishing one's ident i ty and expertise - i n the i r chosen
                                                                                           n industry or discipline. It
i s the foundation of building good character and a life worthy of emulating, maybe even impersonating for
some . But impersonat i on, like plagiarism, is more often linked to criminal activ i ty than academic merit,
distinguished public service and l ife-long career achievements . For my DNA-bearing, earthly father whose
pre-mortem truth is that he wi lled h i s estate 100% to me and also listed me as the executor of my father's
will, great moral character in civic leadership is about patriot ic responsibility, which to me begs to be the
same as integrity . So as I end these remarks, I close w ith the entire quote in a more proper context attributed
to mv father from his inaugural address just one day after I was returned to America from a hostage situation
in the Middle East because my captors did not wish to see me wit h my already distingu i shed military record
being used as political weight by e ither cand i date, both of whom were related to me .

          "My fellow citizens of the world: ask not what America will do for you,    but what together we can do
         for the freedom of man, [and woman] . Finally, whether you are citizens     of America or citizens of the
         world, ask of us here the same high standards of strength and sacrifice     which we ask of you . With a
         good conscience our only sure reward, with history the final judge of our   deeds, [we] go forth to lead
         the land we love . . . "

         So, yes, after fighting for the civil rights of Blacks in America, my civil rights matter . And this is a
serious issue . So, yes, after fighting to preserve the Black family in America by granting them hope and
opportunity through shattering the obstacles that prevented them from achieving a good education, my own
biological family's preservation matters also. So, yes, a more unified America can be represented by any of
her proven and educated leaders if the vote is cast that way . Be mindful, however, that we are still not a
homogenous people . Each of us are endowed from birth with our own genetic material and makeup that will
spring forth in our off-spring even if a madman uses biological warfare against us in an effort to further
himself toward ill-conceived goals, as if in nearing the achievement of some shallowly thought about feat his
criminal activity will be the first to warn him of his inadequacies before any equal competitor ever could . As
we take pride in our ability to communicate across racial and cultural barriers, we do not seek to see
everyone as if they are us we seek to appreciate the uniqueness that makes us different . The effort of the
Civil Rights Movement was not to reverse discrimination in America or to change her to a Black dominant
power with white slavery in a country where all who would want to eat must work for their daily sustenance
or live peacefully with someone who does and is willing to pay for their lot in life, without holding them as
sociopolitical hostages to their own insecurities .

        The agenda to make education a priority has been long achieved . Those who wish to receive their
education do, and those who shun education work for those who have one .

        A final prerequisite for those who wish to "lead the land we love" is the inward presence of personal
and corporate integrity and respect for others that is revealed in each move you make, each word you say and
each footstep you take . . .




G en. K. K. Bucc ini (Ina cti ve-USAF) is the US Military's 1 'fe male S-star Genera[ who has survived a lengthy post-
Civil Rights Movement Sociopolitical ho stage situatio n in a grossly altered physical app earance a nd identity . She
expects to relocate from th e Atlanta, GA area and return to her normal lifestyle soon .
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THE COST OF DISC IPLESH IP AND EDUCATION by General KK . Buccini (Inactive-USA

         Yeah, it seems that a Black man is slated to wi n the Democratic Party's nomination for President and it
looks like he is destined to become the first B lack President of the United States of America, if he is elected by the
popular vo te and the electoral vote .

         He h as presented himself as an inte lligent and fair-minded man with a Harvard Law degree who can
represent the id eas and ideals of thi s nation's diverse popul o us just 44 and 43 years after the passage of the Civil
Rights Act and the Voting Rights Act, respectively .

         Except for one .

          Yes, one individual who wo ul d matter most to his campaign had the truth of this individual 's existence and
work been revealed to the unknowing ge nera l public prior to Barack Obama's 1 0-years out pre-planning sessions
wh ic h included him with his help meet by his side almost cutt ing off my "turkey collar" with neck attached and
stealing my `K' branded, customized leather donkey reins minu s the plough of the one Commissioned Officer in the
US Military of long ago who cared eno ugh to bring some valid ity to the then-unconnected or loosel y co nnected
incidents of racial disc ri mination agai n st Bl acks in the So u thern United States so that the leaders of a Civil Rights
Movement could emerge and receive the national coverage they requested in o rder to bridge a gap , for themselves
and other B lacks across th i s nati on, between Abraham Lincoln's Emancipation Proclamation and George
Washington's Constitution of the United States and bring its principles of freedom, liberty a nd the pursuit of
happ iness to the B lack race in the 2e century and beyond.

          In spite of the importance this in dividual played in establishing justice in America for the B lack race, even
with thi s individual's existe nce and work being made public in 1996 or before there may have been a reason to
rationalize with Obama against this r un for the US Presidency .

          It's just time that I fina lly ownn up to having that treasured knowledge "in this earthen vessel" that did make
a d ifference in changing the wh eels that steered this country and fostering our new global image . Has there been
enough follow-up in American polit i cs so that the candidates could finally c hoose to run on a pl atform of integrity in
lieu of infidel ity? Everybody seems to say yes, but the candidates say no . And this one individual 's life hangs in the
b al ance whil e they run on a platform of infidelity us ing someone's name who has never even b een marr ie d, just
loosely connected, to the values and ideals that they wish to espouse or be associated with? Will taxpayers' dollars
be wa sted i f this country finally produces its first B lack leader and he feel s that he has to pad and doub le the Wh ite
Ho use's payroll with the old and in retirement citizens to whom he refused to lend a student's ear when the advice
was flowing free ly and of whom he even surprising ly tried to kick aside to make room for himse lf a nd his new
agenda? The Civil Rights Movement was about helping the B lack man establ i sh his own identity within the confines
of the already eternalized Declaration of I n dependence and United States Constitution, and thus bring into focus th e
needs of hi s family to wh ich he was encourage d to remain responsible and also married.

          Unbeknownst to many, the Civil Rights Movement did indeed take p lace within a carefully designed and
constructed vacuum and many factors were involved in creating that vacuum which encompassed every facet of
Amer ican life and livelihood from the storefront c hurch to the pipe-organe d cathedrals, from the home-based office
to the 32°d floor corporate sui te, rural and urban, fro m the midwife's station in a private home to the nursery at the
county hospital, from a small neig hborhoo d home with a spiny cactus plant under its most vulnerable window to a
private, gated property with an electron ic security a larm system, from the community co llege classroo m to the ivy
l eague classroom. The hearts and minds of Americans were opene d, the yo u ng and the o ld, the educated and the
unedu cated, to offering hope and dispens ing understanding to the Bl ack race without compromising their soul or
their heart.

          But another war began among other white citizens of America, some . of whom had al ready been
commended for their part in initiatingthe C ivil Right s Movement into the hear ts and minds of the American people
so that these others could be more mind ful of th eir own interactions with B lac k people in America, perso nally and
profess ionally . And others who were frig htene d that conservative liberals were giving away their future and their
children's future and simply reversing the roles of s lavery - and that group was divided also . It was divided into
perso ns who were ed ucated or logically receivi ng an education who had or could plan for a future in gove rnment,
business and politics and into persons who s imply wanted to feel as if they were the ed ucated ones a nd all that they
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 represented and validated . Persons from each of those groups are now in leadership ro les prepari ng to witness the
 real actual res u l t s of the C ivil Rights Movement that is supposedly only memorialize d in a page or t wo in American
 history books, and not etched into everything new that h as been produced for the American consumer si nce the mid-
 1960s and her international visitors . The components of the vacu um have been used and are now being disma ntled
 and being prepared for histor ical preservation. If it took reason inside of that vacuum to get us to this point today,
 on what noble pl atform mu st today's candidate rum? Shall it b e truth or reason ?

           We are educated to the truth in almost every insta nce, yes! And we reason based on the level of educat ion
that we have received and on our knowledge of a trut h. B ut the truth when tested, and it needs to be tested, is often
divided into par ts so th at the variables by which its sum was derived are verifia ble . Someo ne not of age today may
want to accept th at truth tomorrow, but only if the variab les are constant will it s till be there . And if it is still there
then, uncompromised and uncontested, it is believed to be the truth . This very simple p roofing method resembles the
arg ument that was u sed b y many whi te Federal atto rneys, suc h as myself, and their newly recru ited j un ior
counterparts who were Black, during the Civil Rights Movement who upon acknow ledging the years in between that
present day and January 1, 1863 when President Abraham Lincoln brought forth to th e general public a document
that would be used as the catal yst to begin to end the U .S . Civil War gave testimony to establish the Civil Rights
Movement as a present-day domestic war which would be under the auspices of t he Federal Governmen t
considering the demands of its leaders that were given to the leaders of the United States Congress based on the
inhospi t abl e attitudes of the leaders of the State Houses in which they resided where they did not feel a warm
welcome or pat on the b ack wh enever they chose to grace those ha lls and offices with their learned a nd rehearsed
litanies and lamentat ions.

         Schools such as Howard University, Morehouse College, Spelman Col lege and Clark Coll ege were
founded i n the late 1 90' century and were educating wort hy B lack students in Literature and Languages, World
Cultures and Geography, Science and Mathematics who learned to reason against the need for a warm feeling and
except h aving a we lcoming seat in whic h they could sit and listen to a c lassroom lectur e that was only a stop on their
journey toward forging their individual careers, and leadership roles tha t would soon garner them i mpressionable
disciples who woul d ask for mentoring rel ationships from th em.

          So now it's time for change, bu t not outside of the context of the delicate and expected fruits of the Civil
Rights Movement, name ly the C ivil RightsBill and the Voting Rights Bill . Feelings aside, as they chan ge with the
rushing wind, the rising tide, a woman's pre-menstr ual syndrome and the American hunter's inability to find food on
his carefully planned bimonthly hunting trip . For some strange reason, too many Black Amer i cans today even after
being given the certain inclination that with a good education and a good work ethic the ideas and ideals written into
the framework of the Declaration of Independence that "all men are created equal, that they are endowed by their
Creator with certain unalienable rights, that among these are life, Liberty and the pursuit of happiness. . ., " are theirs
to hold onto and claim also but instead they hold stronger to the misnotion th at they can only inc rease their lot with a
 "by any means necessary" attitude after their stalk and steal from the one who equa led his purs u it of happiness to
the earning of h is university degree(s) and the offer of work in Corporate America or amufti- bil lion dollar trucking
business and the subsequent promotions based on gained work experience after meeting the prerequisites for the
entry- level job . These persons who do not believe in educat i on or in a reasonable work ethic rise u p at this grand
occasion and want a Black man i n office thinking he will give them a pat on the back fo r their swift feet as he gets
his share of their da ily take, when in truth if he is elected he would need to honor the respectab le tradition of work as
the only mea n s by which a man's lot is increased, even it is increased through t he receipt of the inheritance o f a
deceased loved one's estate and personal property .

         So now it's time for change, but no t outside of the context of the delicate, expecte d a nd delivered fruits of
the Civil Rights Movement, namely the Civil Rights Act of 1964 and the Voting Right s Act of 1965, or the lessons
learned from the sensel ess deaths associated with that movement o f Whites and Blacks who die d at the h a nds of
persons who never really wanted to understand .another's perspective about life outside of t heir social location.

          It's time for cha nge, but not outside of the context of the Civil Rights Movement . A platform of i ntegrity
in lieu of infidelity is possible if before voting for this new president America returns to its own tru th regarding the
family who helped theorize on paper and eve ntually in legislation the new day that could make it possib l e for her to
find within its Black citizens a viable executive w ho could carry forth her message of truth, j ustice and moderation
around the globe with dignity because we no lo nger believe that the true cost of discip l eship and education is
martyrdom . Not at all.
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